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                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 --------------------------------------------------------------- X      DOC #: _________________
                                                                  :     DATE FILED: 10/19/20
 ELSA HERNANDEZ,                                                  :
                                                                  :
                                                 Plaintiff,       :   1:20-cv-08511-GHW
                                                                  :
                              -against-                           :        ORDER
                                                                  :
 COMMISSIONER OF SOCIAL SECURITY,                                 :
                                                                  :
                                                 Defendant. :
                                                                  :
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GREGORY H. WOODS, District Judge:

         Plaintiff has brought this action, for which the filing fee has been waived, pursuant to

Section 205(g) of the Social Security Act, 42 U.S.C. § 405(g), seeking a review of denial of disability

benefits. It is hereby

         ORDERED that, unless otherwise ordered by the Court, the Commissioner of Social

Security shall file an Electronic Certified Administrative Record (e-CAR) on the date on which it

files its answer or other responsive pleading. If the Commissioner wishes to file a motion for

judgment on the pleadings, any other motion, or a stipulation to remand to the Commissioner, the

Commissioner shall do so within thirty (30) days from the filing of the answer and the e-CAR. If

Plaintiff wishes to file a cross-motion, Plaintiff must do so within thirty days after the

Commissioner’s filing of a motion. Opposition to any motion shall be filed within thirty days from

service of the motion. Any reply must be filed within fourteen days thereafter. Any motion or

opposition must be accompanied by a supporting memorandum of law and include specific citation

to the parts of the record on which the party relies.

         Requests for an extension of any of the dates set forth herein must be made in accordance

with the Court’s Individual Rule 1(E). In addition, if the Commissioner anticipates that the
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Commissioner will require an extension of the date by which it must file a motion for judgment on

the pleadings, any other motion, or a stipulation of remand to the Commissioner, the Commissioner

should request the extension no less than two business days prior to the filing of the e-CAR and

answer or other responsive pleading.

       SO ORDERED.


 Dated: October 16, 2020                           _____________________________________
 New York, New York                                         GREGORY H. WOODS
                                                           United States District Judge




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